Case 20-41182-can13                      Doc 51         Filed 10/08/20 Entered 10/08/20 11:02:53                    Desc Main
                                                       Document     Page 1 of 2
 MOW 3007-1.1 (12/2017)
                                    IN THE UNITED STATES BANKRUPTCY COURT
                                         WESTERN DISTRICT OF MISSOURI

 IN RE:                                                                            )
                                                                                   )
            James Stanley Panus,                                                   )      Case No. 20-41182-can13
                                                                                   )
                                                            Debtor.                )

                                                          OBJECTION TO CLAIM

 Comes now Movant, James Stanley Panus and hereby objects to the Proof of Claim filed by
 creditor, BSI Financial Services in the amount of $529,662.85 on July 24, 2020. The court claim
 number is 7.

 Your claim may be reduced, modified, or eliminated. You should read this document
 carefully and discuss it with your attorney, if you have one.

 Pursuant to Local Rule 3007-1 (C), the Claimant shall have 30 days after service of the Objection
 in which to file a Response, if you do not want the court to eliminate or change your claim. The
 Response shall be in writing and state why the claim should be allowed as filed. If a Response
 is filed, the Court will schedule a hearing. If no timely Response is filed, the Court will enter an
 Order sustaining the Objection to the Claim. Parties not represented by an attorney shall mail a
 Response to the Court at the address below. Debtor(s) not represented by an attorney must be
 served a copy of the Response by regular mail. If your Response is mailed, it must be early
 enough so that the court will receive it on or before 30 days after service of the Objection.

 The basis for the objection is as follows:

      1. The claim lists the post-petition mortgage payments in the amount of $2,734.91, which
         includes principal and interest of $1,424.59, an escrow payment of $1,616.27, and an
         escrow shortage payment of $287.74.

      2. The calculations of the escrow account are based upon the projection that the annual real
         estate taxes will be $11,939.37.

      3. The debtor appealed the assessed value of his property and was successful in his appeal
         and the real estate taxes have been reduced to $7,518.31.

      4. Debtor states that the post-petition mortgage payments should be $2,672.44, which
         includes principal and interest of $1,424.59, an escrow payment of $1,247.85. There
         should not be an escrow shortage payment as all of the escrow shortages should have
         been included in the pre-petition mortgage arrearages.

      5. The claim lists pre-petition mortgage arrearages of $136,588.62, which includes principal
         and interest of $71,229.50, pre-petition fees of $4,696.92, escrow deficiency of $57,429.96
         and a protected escrow shortage of $3,232.54.

      6. Debtor states that the Jackson County collector’s office has refunded $4,421.06 to the
         mortgage creditor for the 2019 tax year due to Debtor’s successful appeal of the assessed
         value of his property.


 Court address: U.S. Bankruptcy Court, 400 E. 9th St., Room 1510, Kansas City, MO 64106
 Instructions: Complete all parts of the form and serve on the affected parties
 ECF Event: Bankruptcy>Claim Actions>Objection to Claim (includes 30-day notice)
Case 20-41182-can13                      Doc 51         Filed 10/08/20 Entered 10/08/20 11:02:53       Desc Main
                                                       Document     Page 2 of 2
      7. Debtor states the pre-petition mortgage arrearages should be $131,421.02, which
         includes principal and interest of $71,229.50, pre-petition fees of $4,696.92, escrow
         deficiency of $53,008.90 and a protected escrow shortage of $2,485.70.




 Date:                                                                 /s/ Tracy L. Robinson
                                                                       Tracy L. Robinson #36691
                                                                       600 E. 8th Street, Suite A
                                                                       Kansas City, MO 64106
                                                                       Phone:         (816) 842-1317
                                                                       Fax: (816) 842-0315
                                                                       Email: admin@tlrlaw.com
                                                                       Attorney for the Debtor




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